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                                                                           December 13, 2024

 VIA EMAIL


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       Re: Wells v. City of Memphis, et al., Case No. 2:23-cv-02224 – Rule 37 Letter

 Dear Counsel:

       We write regarding the parties’ December 5, 2024 Rule 37 conference and your December
6, 2024 follow-up email.

       I.      RFP Nos. 73, 87-90, 96, 110.

        These RFPs seek Response to Resistance reports (RFP 96), data from MPD COMPSTAT
meetings (RFP 73), ISB investigation files (RFPs 87-90), and excessive force complaints and ISB
investigation files that MPD referred to the Shelby County District Attorney’s Office (RFP 110).

        Our November 13, 2024 letter asked you to provide some basic information about how
these files are stored in order to assess your claims that responding to this discovery would be
unduly burdensome. At the December 5 conference, you had no answers to the questions we asked
in the letter. You told us you would follow up after getting those answers, but your December 6
email reverts to your previous burden objections and refuses to explain further. We are at impasse
regarding these RFPs.

       II.     RFP Nos. 5, 29-32.

        RFP No. 29 seeks inspection and imaging of the cell phones of the individual defendants,
including MPD Chief Cerelyn Davis, for the two-and-a-half-week period following Mr. Nichol’s
killing (January 6, 2023 – January 25, 2023). In its written discovery answers, the City responded
that it is not in possession, custody, or control of Chief Davis’s phone. However, after we
confronted the City with MPD’s policy on issuing cell phones to employees, you acknowledged
on our December 5 call that the City is in fact in possession of Chief Davis’s MPD-issued phone.


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        In your December 6 email, you refuse to image Chief Davis’s MPD-issued phone,
claiming overbreadth.

         That objection cannot hold water. The City has identified Chief Davis on its Rule 26(a)
disclosures as a person with knowledge of the SCORPION Unit and other topics, and the City has
already identified Chief Davis as an ESI custodian. Moreover, it is impossible to imagine that
Chief Davis did not use her MPD-issued phone to communicate about the subject occurrence and
its aftermath. There are multiple RFPs asking for the City to produce such communications, such
as RFP No. 5. Additional requests are described below. You are refusing to produce documents
that are plainly responsive to Plaintiff’s RFPs. Imaging Chief Davis’s MPD-issued phone is a first
step to making any such production.

        Without imaging Chief Davis’s phone and running search terms across the phone’s ESI to
determine the amount of irrelevant material, the City has no principled basis to assert any
objections to relevance, burden, scope, or proportionality. Courts do not permit parties to rest on
such objections when they have not even quantified the amount of relevant versus irrelevant
material or the purported burden. See Sweeney v. Nationwide Mut. Ins. Co., No. 2:20-CV-1569,
2023 WL 2549549, at *2 (S.D. Ohio Mar. 17, 2023) (compelling defendants to run hit reports
where defendants “had not provided any information to support their proportionality objection”
and “had not run a hit report for Plaintiffs’ proposed search terms”); In re Outpatient Med. Ctr.
Emp. Antitrust Litig., No. 21 C 305, 2023 WL 4181198, at *11 (N.D. Ill. June 26, 2023) (finding
defendant did “not demonstrate[] that implementing Plaintiffs’ proposed search terms and
custodians would cause it undue burden and expense” where defendant “failed to substantiate its
burden by providing hit counts for any of the individual disputed search terms”); Skurka
Aerospace, Inc. v. Eaton Aerospace, L.L.C., No. 1:08 CV 1565, 2012 WL 12888111, at *2 (N.D.
Ohio Mar. 15, 2012) (compelling defendant to run search terms across defendant’s ESI and
produce hit reports).

        Moreover, RFP No. 29 is not the only request that requires imaging Chief Davis’s MPD-
issued phone. RFP Nos. 30-32 seek relevant communications and other relevant cell phone data
from any City employee. In particular, RFP No. 31 seeks all communications to or from any City
employee, including Chief Davis and the other named Defendants, “related to the January 7, 2023
incident involving Tyre Nichols, including but not limited to phone call logs, text messages,
emails, social media messages, posts, or direct messages[.]” In order to comply with these RFPs,
the City must conduct a forensic collection of the data on Chief Davis’s MPD-issued phone
and then produce responsive documents. Please confirm whether the City will agree to do
so. Please also confirm whether the City has possession, custody, or control of the personal
cell phone (or data therefrom) that Chief Davis used at the time of the subject occurrence.

        Beyond Chief Davis, there is also the issue of other City employees’ phones containing
relevant information. Your December 6 email—and the lack of any cell phone communications in
the City’s productions to date—suggest that the City has not collected ESI from the cell phones of
any of the individuals that you identified as ESI custodians. The City must collect ESI from the
phones of at least these custodians, and produce the responsive material. On our December 5 call,
you agreed to image the MPD-issued phone of DeWayne Smith (and informed us that the
other officer defendants’ MPD-issued phones are currently in the custody of TBI). Please let
us know whether the City agrees to image the MPD-issued (or City-issued) phones of the
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remaining individuals whom the City identified as ESI custodians and then produce
responsive documents. (There are additional individuals identified in the City’s second
supplemental Rule 26(a)(1) disclosures and in the parties’ discovery to date which were not
included in the City’s February 20, 2024 list of custodians. We will discuss these additional ESI
custodians with you separately.)

        With respect to all custodians (including Chief Davis), we agree to confer with you on
an ESI protocol, including appropriate search terms and other specifications for the ESI
collected from the imaged phones, to alleviate the burdens of a manual review.

       Please provide responses to the above questions by December 18 so that we can begin
conferring on the ESI protocol. If we do not receive a response by December 18, we will
presume the parties are at impasse.

       III.    SCORPRION SOP.

        We have alerted you to your discovery deficiencies concerning the SCORPION SOP since
Lt. Monique Williams’ July 11, 2024 deposition, at which Lt. Williams revealed the existence of
this key document that the City had failed to produce. On our October 28, 2024 conference, you
stated that the only version of the SCORPION SOP you are aware of (after interviewing multiple
people with knowledge) is the hard copy you claimed to have obtained from Lt. Williams prior to
her deposition. But that is incorrect. You have also produced five versions of the SCORPION SOP
that are native Word files (COM_0057786; COM_0054599; COM_0054704; COM_0054600;
COM_0057787).

        In our October 30, 2024 letter, we asked you to let us know where you collected each of these
versions of the SCORPION SOP, who the custodian(s) and authors are of each, and if there is no
custodian or author, to provide the name of the non-custodial source. On our December 5 call, you
stated that you obtained at least some of these produced versions from what you referred to as the
“larger MPD network drive.” You stated you did not know the name of this drive, which MPD
units/divisions store ESI on this drive, or whether all five produced versions of the SOP were
collected from this drive. You agreed to send us the name of this network drive and the file path
for each of the above-referenced SOP documents. You also agreed to discuss with your paralegal
about reproducing these documents with complete and legible metadata (see Plaintiff’s October
30, 2024 letter explaining metadata deficiencies).

        Despite these agreements, your December 6 email provides none of this information and
states that you believe you have satisfied your discovery obligations as to the SCORPION SOP.
We disagree. The parties are at impasse on these issues.

       IV.     Privilege Log and Production Inventory Issues.

        You agreed to provide a corrected production inventory (updated to include all documents
identified on the City’s privilege logs) within a day or two of our December 5 conference. Please
provide the corrected inventory by December 16.


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                                                      Sincerely,

                                                      /s/ Joshua M. Levin

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